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UN|TED STATES D|STR|CT COURT
D|STR|CT OF MASSACHUSETTS

DAV|D TREFRY, JOAN TREFRY,
BUDZ|K
P|aintiff,

V CA 13-13044-JLT

BUDZ|K & DYNlA, LLC;
and DOES 1-10, inclusive.
Defendants.

SETTLEMENT ORDER OF D|SM|SSAL
TAURO D.J.

 

The court having been advised on Janaury 27, 2014 by counsel for the
parties that the above action has been settled:
|T |S ORDERED that this action is hereby dismissed without costs and with
prejudice to the right of any party, upon good cause shown, to re-open the action

within Y days of this order, if settlement is not consummated

/s/ Zita Lovett

Courtroom Clerk
Date: January 27, 2014

